           Case 5:05-cv-00843-HE Document 24 Filed 01/13/06 Page 1 of 2



              IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF OKLAHOMA

DELBERT E. McNEIL, JR.,                       )
                                              )
                       Petitioner,            )
                                              )
               vs.                            )      NO. CIV-05-0843-HE
                                              )
ERIC FRANKLIN, Warden,                        )
                                              )
                       Respondent.            )

                                            ORDER

       This case is before the court on the Report and Recommendation of Magistrate Judge

Gary M. Purcell. Petitioner, a state prisoner appearing pro se, seeks a writ of habeas corpus

pursuant to 28 U.S.C. § 2254. Consistent with 28 U.S.C. § 636(b)(1)(B), the matter was

referred to Judge Purcell for review. Judge Purcell issued his Report and Recommendation,

recommending that the petition be denied. The matter is currently before the court on

petitioner’s objection to the Report and Recommendation.1

       Having considered the matter de novo, the court concurs with Judge Purcell’s

conclusion that petitioner has procedurally defaulted his claims and has failed to demonstrate

either cause and prejudice for his default or a fundamental miscarriage of justice based on

the application of a procedural bar to his claims. See, e.g., Bridgeforth v. Ward, No. 02-

6085, 2004 WL 100513, at **3-4 (10th Cir. Jan. 22, 2004).2 Accordingly, the Report and


       1
        Because petitioner has objected to the Report and Recommendation, the matter is reviewed
de novo. 28 U.S.C. § 636(b)(1)(C).
       2
        Bridgeforth is an unpublished decision cited for persuasive value only pursuant to 10th Cir.
R. 36.3(B).
         Case 5:05-cv-00843-HE Document 24 Filed 01/13/06 Page 2 of 2



Recommendation is ADOPTED in its entirety and petitioner’s petition for writ of habeas

corpus is DENIED.

      IT IS SO ORDERED.

      Dated this 13th day of January, 2006.




                                              2
